                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           CASE NO. 3:20-CV-021-MOC-DCK

 PHILIPS MEDICAL SYSTEMS                                )
 NEDERLAND B.V., PHILIPS NORTH                          )
 AMERICA LLC, and PHILIPS INDIA LTD.,                   )
                                                        )
                      Plaintiffs,                       )
                                                        )
    v.                                                  )                  ORDER
                                                        )
 TEC HOLDINGS, INC., f/k/a TRANSTATE                    )
 EQUIPMENT COMPANY, INC.,                               )
 TRANSTATE EQUIPMENT COMPANY                            )
 INC., f/k/a TRANSTATE HOLDINGS, INC.,                  )
 and ROBERT A. WHEELER,                                 )
                                                        )
                     Defendants.                        )


         THIS MATTER IS BEFORE THE COURT on the “Defendants’ Motion To Seal”

(Document No. 450) filed October 19, 2021. This motion has been referred to the undersigned

Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate review is appropriate. Having

carefully considered the motion and the record, and noting the Plaintiffs’ consent, the undersigned

will grant the motion.

         A party who seeks to seal any pleading must comply with the Local Rules of this Court.

Local Civil Rule (“LCvR”) 6.1 provides in relevant part as follows:

         LCvR. 6.1       SEALED FILINGS AND PUBLIC ACCESS.

                (a)     Scope of Rule. To further openness in civil case
                proceedings, there is a presumption under applicable common law
                and the First Amendment that materials filed in this Court will be
                filed unsealed. This Rule governs any party’s request to seal, or
                otherwise restrict public access to, any materials filed with the Court
                or used in connection with judicial decision- making. As used in this
                Rule, “materials” includes pleadings and documents of any nature
                and in any medium or format.



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               (b)    Filing under Seal. No materials may be filed under seal
               except by Court order, pursuant to a statute, or in accordance with a
               previously entered Rule 26(e) protective order.

               (c)     Motion to Seal or Otherwise Restrict Public Access. A
               party’s request to file materials under seal must be made by formal
               motion, separate from the motion or other pleading sought to be
               sealed, pursuant to LCvR 7.1. Such motion must be filed
               electronically under the designation “Motion to Seal.” The motion
               must set forth:

                      (1)     A non-confidential description of the
                      material sought to be sealed;
                      (2)     A statement indicating why sealing is
                      necessary and why there are no alternatives to filing
                      under seal;
                      (3)     Unless permanent sealing is sought, a
                      statement indicating how long the party seeks to have
                      the material maintained under seal and how the
                      matter is to be handled upon unsealing; and
                      (4)     Supporting statutes, case law, or other
                      authority.


Local Rule 6.1. It appears that the requirements of Local Rule 6.1(c)(1) through (4) have been

adequately met.

       By the instant motion, Defendants seek to seal “Defendants’ Reply In Support Of Motion

For A Stay Of Proceedings In The Alternative” (Document No. 448) and Exhibits 1-2 and 5-8

thereto (Document Nos. 451, 451-1, 451-2, 451-3, 451-4, and 451-5). Defendants contend that

these materials “have been designated as ‘Confidential’ or ‘Attorneys’ Eyes Only’ by one or more

parties pursuant to the Protective Order,” and they contain “proprietary and/or highly sensitive or

technical business and financial materials and information, the public disclosure of which would

harm the parties’ business interests.” (Document No. 450, p. 2).

       Having considered the factors provided in Local Rule 6.1(c), the Court will grant the

motion to seal. Noting that the time for public response has not run to this motion, the Court will

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consider any objection to this Order from non-parties as an objection to the motion, requiring no

additional burden for any non-party under the Federal Rules of Civil Procedure. See Local Rule

6.1(e).

          IT IS, THEREFORE, ORDERED that “Defendants’ Motion to Seal” (Document No.

450) is GRANTED. Document Nos. 448, 451, 451-1, 451-2, 451-3, 451-4, and 451-5 shall remain

under SEAL until otherwise ordered by this Court.

          IT IS FURTHER ORDERED that Defendants shall file a publicly available redacted

version of these documents (Document Nos. 448, 451, 451-1, 451-2, 451-3, 451-4, and 451-5) on

or before October 26, 2021.

          SO ORDERED.

                                       Signed: October 20, 2021




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